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AO 9l (Rcv. I l/l   l)   Criminal Complaint


                                              Uurrno Srerps Dlsrrucr Counr                                                   ilAY   12   2020
                                                                      for the
                                                                                                                     IIJ'ITCHELL R.
                                                              District ofNew Mexico                                                 ELFEHS
                                                                                                                             CLERK
                     United States of America
                                 v.
                             SergioAR|AS
                                                                                caseNo. "),O i-nJ         lb44
                           Yearof Birth:1973



                                Delendant(s)


                                                         CRIMINAL COMPLAINT
           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s)            of          u13,r2us -   lanonuE             in the county   of                 Bemalillo             in the
                             District   of       Nevtr   Mexico      , the defendant(s) violated:

               Code Section                                                        Affense Description

18   u.s.c.    S 2252A(aX4)                          Atbmpted Distribution of Child Pomography (February 13,2015)

18   u.s.c.    S    2252A(aXsXB)                     Possession of Child Pomography (Aptil8, 2015)

18 U.S.C. $ 22s2A(a)(a)                              Receipt of Child Pornognaphy (September         2   1, 20'17)

18 U,s.c. $ 2252A(a)(5)(B                            Possession of Child Pornography (October 10, 2018)


           This criminal complaint is based on these facts:

See atlached Affidavlt, which has been reviewed by AUSA Sarah Mease.




           d   Continued on the attached sheet.




                                                                                                Tyler Sullivan, Special Agent
                                                                                                         Printed rtumc ord tiile


Swom to before me and sigrred in my presence.
 By telephone - JHR

Darc:      MaY 12,2020                                                                    c)@   '
                                                                                                           "rrg"
                                                                                                                   t"crrtr*
City and sate:              Albuquerque, New Mexico                                 Honorable Jerry H. Ritter, U.S. Magistsate Judge
                                                                                                         Printed rume and title
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               A,I'FIDAVIT IN SUPPORT OX'A CRIMINAL COMPLAINT I'OR
                                           SERGIO ARIAS
       I, Tyler Lawrence Sullivan, being first duly sworn, hereby depose and state as follows:


                 INTRODUCTION AND BACKGROUND OF THE AFFIANT

        l.       I make this affidavit in support of the arrest of Sergio Arias (year of birth 1973,)

(hereafter   "ARIAS'), for violations of   18 U.S.C. 52252A(a)(4), Attempted     Distribution of Child

Pornography; 18 U.S.C. $ 2252A(a)(4), Receipt of Child Pomography; and 18 U.S.C. $

2252A(a)(5XB), Possession of Child Pornography.

       2.        I have been a Special Agent of the U.S. Department of Homeland Security,

Homeland Security Investigations ("HSI') since November 2017 and am currently assigned to

the Albuquerque, New Mexico offrce. While employed by HSI, I have conducted criminal

investigations for violations of federal laws including, but not limited to, high technology or

cybercrime, child exploitation, and child pornography.I have gained experience through

completing the Criminal Investigator Training Program and HSI Special Agent Training at the

Federal Law Enforcement Tmining Center located in Glynco, Georgia, and through everyday

work conducting these types of investigations. I have received training in the area of child

pomography and child exploitation, and have observed and reviewod examples of child

pornography (as defined    in   18 U.S.C. $ 2256) in various forms of media including computer

media Mortover, I am a federal law enforcement officer who is engaged in enforcing criminal

laws, including 18 U.S.C. $ 2252A, and I am authorized by law to request a search warrant.

       3.        The statements contained in this affrdavit are based upon my investigatiorl

training and experience, as wells as information provided by other law enforcement officers or

from otherreliable sources. Because this affrdavit is being submitted forthe limited purpose       of
securing a criminal complaint, I have not included each and every fact known to me conceming
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this investigation. I have set forth only the facts which I believe are necessary to establish

probable cause to support a criminal complaint against ARIAS, for violations of       l8 U.S.C.   $$

2252A(d@) and 2252 A(aXs XB).


                                         LEGAL DEF'INITIONS

          4.      The following terms are relevant to this affidavit in support of this application for

an arrest warrant:

                  a.      Chitd Pornogrqphy:The term "child pornography" is defined at l8 U.S.C.
          $ 2256(3).  It consists of visual depiction of sexually explicit conduct where (a) the
          production of the visual depiction involved the use of a minor engaged in sexually
          explicit conduct, O) the visual depiction is a digital image, computer image, or computer-
          generated image that is, or is indistinguishable fronr" that of a minor engaged in sexually
          explicit conduct, or (c) the visual depiction has been created, adapted, or modified to
          appearthat an identifiable minor is engaged in sexually explicit conduct), as well as any
          visual depiction, the production of which involves the use of a minor engaged in sexually
          explicit conduct. See 18 U.S.C. $$ 2252 nd2256(2),(8),

                  b.    Minor: The term "minor" means any person under the 4ge of eighteen
          years. See 18 U.S.C. $ 2256(l).

                  c.      Sexually Explicit Conduct: The term "sexually explicit conducto'means
          actual or simulated (a) sexual intercourse, including genital-genital, oral-genital, or oral-
          anal, whether benrreen penions of the same or opposite sex; (b) bestiality; (c)
          masturbation; (d) sadistic or masochistic abuse; or (e) lascivious exhibition of the genitals
          or pubic area of any persons. See 18 U.S.C. 52256(2).


           FACTS AND CIRCUMSTAIYCES ESTABLISHING PROBABLE CAUSE

    I.         Statelnvestieation (2015)

          5.      On March I   l,   2015, the New Mexico Attorney General's Offrce (NMAGO)

notifid   the Bemalillo County Sheriffs Office (BCSO) that the National Center for Missing and

Exploited Children (NCMEC) received CyberTipline Report#3867680 from GoDaddy.com.

Review of the CyberTip by BCSO revealed that a GoDaddy.com user by the name of Sergio

Arias, with email address "arias73@gmail.com" and a billing address of 10517 Sierra BonitaNE
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Albuquerque NM 871I         l, uploaded a series of filcs that were found   to be child pornography to

the domain "FFUPIMIF.COM.* According to the CyberTip, this event occuned on February 13,

2015.

        6.        A sampling of the screen captuied web pages uploaded to GoDaddy.com is more

fully described   as   follows:

   a.   arsg.fupimif.com.pdf       - a screen captrned webpage containing multiple images involving
        the sexual exploitation of childnen, including an image depicting a prepubescent female,

        approximately 10-12 years of age being penetrated by an adult penis.

   b.   brdg.fupimif.com.pdf       -   a screen captured webpage containing multiple images involving

        the sexual exploitation of children, including an image of a prepubescent femalg

        approximately 8-10 years of age, performing oral sex on an adult male.

   c.   cjrd.fupimif.com.pdf       - a screen captured webpage containing multiple images     involving

        the sexual exploitation of childreru including an image depicting a prepubescent female,

        approximately 5-7 years of age, performing oral sex on an adult male.

   d.   drdg.fupimif.com.pdf- a screen captured webpage containing multiple images involving

        the sexual exploitation of children, including an image depicting a prepubescent female,

        approximately 3-5 years of age, being penetrated by an adult penis.

        7.        Based on this information, I believe there is probable cause to believe that   ARIAS

committed the offense of Attempted Distibution of Child Pornography, in violation of l8 U.S.C.

I2252A(a)(4), on Febmary 13,2015.

        8.        On   April   8, 2015, BCSO executed a residential search warant at 10517 Sierra

BonitaNE in Albuquerque. ARIAS was present during execution of the warrant. Several

electronic devices were seized pursuant to the warrant.
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          9.          A later forensic examination of the seized devices revealed material containing

child pornography. More specifically, the following is an approximation ofthe arnount of child

pornography located on the various seized devices:

    a-    HP Laptop:45 images of child pornography;

    b.    Toshiba laptop:      2l   images of child pornography; and

    c.    Dell desktop computer: 15 images of child pornography.

          10.         One of the images located on ARIAS's Toshiba laptop, set as the desktop

background, is described by the forensic examiner as follows: A LS Magazine image (watermark

visible), which is a known child pornography site/distributor. The image depicts tw'o females.

One of the girls is on her hands and knees facing away from the camera. She is clothed above the

waist, but naked from the waist down. The girl is posed in such a way that her legs are open, and

her labia, vagina and anus are visible. There is no visible pubic development. The second girl in

the image is on the side of the exposed girl and hugging her around the waist with her eyes

closed. The second girl appears to be around 10 years old.

          I   l.      Based on this information, I believe there is probable cause to believe that          ARIAS

committed the offense of Possession of Child Pomography, in violation of 18 U.S.C. $

2252A(a)(5)(B), on April S, 2015.

    II.            Federallnvegtieation(2017-201E]


          12.         In March 2412, HSI Phoenix initiated an investigation into a password-protected,

fee-based website, iden:ified herein as "Website           M."l through a consensual account takeover of a


I Law enforcernent knows the actual name of Website
                                                       M. However, the investigation into usen of Website M
remains ongoing and public disclosurp of Website M's acfiml namc would potcntially alert its members to thc
investig8tion, likely provoking members to notifr other members of the investigation, to flee, and/or to destoy
evidence. Accordingly, to pr€serve the confidentiality and integrrty of the ongoing investigation, the actual name
and other identi$ing details of Website M remain undisclosed in dris afridavit
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        former user. Website M advertises files of child pornography for purchase. After selecting an

        archive file for purchase, the member pays for the password to access the file via credit card

        through a United States based payment processor.2 Website M then automatically sends an

        email to the member with the encryption password for the archive. The member must first

        download the archive file to a digital device and enter that password to obtain the content.

                     13,         HSI agents investigated the link between the payment processor and Website M.

        On July 31,2017,a federal magistrate in the District of Arizona signed a search warrant for the

        electronic data in the possession of the payment processor related to their business transactions

        with and on behalf of Website               M.   On August   ll,20l7,the    payment processor provided all the

        hansactions the company processed on behalf of Website M.

                     14.         In September20lT, HSI analyzed the payment processor records and identified

        individuals who made purchases from Website M. The payment processor records indicate that

        ARIAS made one purchase from Website M on September 21,2017. According to the payment

        processor records, the email address to which it sent the auto-generated receipts and passwords

        forpurchases made by ARJAS on Website M was "sdariasT3@gmail.com."

                    I5.          Based upon the payment processor records, HSI identified the following purchase

        ARIAS made on September 2l,20l7,via the payment processor from Website M along with

        identiffing information. The purchased file is a folder containing numerous video and image

        files.

Dltc             File Pur$rscd          FirstNsme         Ll$Namc       Phonc            Email                 Addr€sc

                                                                                                               10517 SicrraBomitaNE,

9Dvl7            PERL SCRIPT 207        Sergio            Arias         (505)604-8466    Sdarias73@gmril.com   Albuquerque, NM   t7l I I




        2
          Law enforcement knows the achral name of the United States based payment processor. However, the investigation
        remains ongoing and public disclosure of the processor's actual name would potcntially jeopardize fire investigation.
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       16.      Through later investigation of a server from Website M, a forensic agent located

member username "sdarias73" with activrty on Website M ranging from February 12,2016, and

March 4,2018.

        17.     Investigation agents confirmed ARIAS'purchase on September2l,20l7, which

was for an archive file with the billing code "PERL SCRIPT 207." I reviewed the material

contained in the folder titled "PERL SCRIPT 207." Ttrc folder contained the following material

depicting minors engaged in sexually explicit conduct:

                a.     *m207-l(Casey HC4 Mast)" a 32-minute color video depicting the
                                                        -
       same prc-pubescent female. The child is dressed in awtrite shirt and black skirt with
       pantyhose in the beginning of the video. Around 7 minutes into the video, the girl begins
       to undrcss until she is fully nude. The video then depicts the following acts: an extreme
       close-up of the girl's genitalia, the girl rubbing her genitals with her fingers and digitally
       penetating herself, and the girl spreading her genitals with her fingers. The girl also uses
       her fingers to expose her anus, and the camera zooms in for an erftreme close-up of this
       activity.
       22.      Based on this information, I believe there is probable cause to believe that   ANAS

committed the offense of Receipt of Child Pornography, in violation of 18 U.S.C. $ 2252A(a)(4),

on Septernber 21,2017.

       23.      Following this investigation by HSI Phoenix, HSI Albuquerque obtained a federal

search warrant for ttre residence of   ARIAS, 10517 Sierra Bonita Ave. NE, in Albuquerque. This

search warrant was executed on Ostober 10, 2018. During the execution of this search warrBnt,

electronic devices, and storage media devices were seizcd for forensic examination.

       24.      A later forensic examination of the seized devices, completed in February 2020,

revealed material containing child pornography. More specifically, the following is an

approximation of the arnount of child pomography and other coroborating evidence located on

the various seized devices:

           a.   Loose SD cards:   l,3l I child pornography images,403 child   pornography videos;



                                                  6
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           b.   Loose thumb drives: 2,164 child pornography images, 327 chrldpornography
                videos;
           c.   LG Stylus 3 cell phone: useraccount darias@gmail.com;
           d.   LG Stylus 3 cell phone w/ SD card: 3 child pornography images, user account
                sdarias@gmail.com;
           e.   LG K3 cell phone: child pomography intemet history artifacts; and
           f.   Seagate External USB: 393 child pomography images,44 ehild pomography
                videos
The forensic examination also rccovered content contained in "PERL SCRIPT 207" purchase.

         25.    One of the im4ges located on one of   ARIAS' SD Cards is more fully described     as:


l500jpg   - An image depicting a prepubescent child licking   an erect adult penis.


         26.    Based on this information, I believe there is probable cause to believe that   ARIAS

committed the offense of Possession of Child Pomography, in violation of 18 U.S.C.      $


2252A(a)(5)(B), on October 1 0, 20 1 8.

                                          CONCLUSION

         27.    In summary, based on the above information, I believe there is probable cau* to

believe ARIAS committed violations of,     l8 U.S.C. $ 2252A(a)(4), Attempted Distribution of

Child Pornography on Febmary 13,2015; l8 U.S.C. $ 2252A(a)(5XB), Possession of Child

Pornography, on   April   8, 2015; 18 U.S.C. $ 2252A(a)(4), Receipt of Child Pornography, on

September 21,2017; and      l8 U.S.C. $ 2252A(a)(5XB),   Possession of Child Pomography, on

October 10,2018, in the District ofNew Mexico.

         28.    This affidavit has been rpviewed by Assisant United States Attorney Saralr

Mease.
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      I declare under penalty of perjury that the forcgoing is tnre and correct to the best of my

knowledge.




                                                            Special Agent
                                                            Homeland Secud$ Investigations


Subscribd and sworn to before me

this 12      day   of   May   .     ,202A:



         STATES MAGISTRATE         ruDGE
